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                        UNITED      STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                             Newport News Division

 MEREDITH NACHMAN,



                Plaintiff,
 V.                                                               Civil No.   4:18cv62

 SEAFORD TRANSFER,      INC.,



                Defendant.




                                    OPINION &    ORDER


       This    matter   is   before     the     Court    on   a   partial     motion   to

 dismiss,     filed by defendant Seaford Transfer,                Inc.   ("Seaford" or

 Defendant"), pursuant to Federal Rule of Civil Procedure 12(b)(6).

 ECF No. 7.     For the reasons set forth below, Defendant's motion is

 GRANTED in part, and DENIED in part.

                   I. Factual and Procedural Background

       Summarizing      the detailed      factual       allegations      in plaintiff

 Meredith Nachman's      {''Plaintiff")       complaint,      in late September of

 2015, Plaintiff's mother, acting on Plaintiff's behalf, personally

 delivered     Plaintiff's      household       goods    to   Defendant's      Yorktown

 Virginia "temperature controlled" storage facility for long-term

 storage.      Compl.        6-9,    ECF No.     1-1.     Defendant was paid to:

 (1) unload Plaintiff's property from a U-Haul Truck;                     (2) place ID

 tags on each item;      (3) perform any "wrapping" deemed necessary by

 Defendant; and (4) place Plaintiff's belongings into a large wooden
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 box/vault for long-teinn storage.                      Id.   flU 10-12.        Plaintiff was

 charged over $1,000 for the initial unloading and repacking of her

 goods, and she paid storage fees in excess of $200 per month.                                 Id.

 H 13.     Plaintiff's mother signed a detailed inventory document as

 well as a "Non-Negotiable Storage Contract and Warehouse Receipt,"

 ("Storage Contract")            on which she elected to pay an additional

 rent    premium       for   enhanced         replacement       coverage        protection      on

 Plaintiff's property.             Id. tH 14-17.

         Approximately two years later. Plaintiff contacted Defendant

 to obtain a quote for transportation of her property from Virginia

 to New York because she wanted to compare the price of various

 options, one of which was transporting the property herself using

 a rental truck.         Id. H 19.        Sometime near the end of October 2017,

 Defendant    provided       Plaintiff         a     quote    for    the    cost   of   shipping

 Plaintiff's goods, and Plaintiff agreed to hire Defendant to ship

 her property to New York.               Id. HH 20-22.          A short time thereafter.

 Defendant loaded Plaintiff's property onto a truck and shipped it

 to   New York,     with     the     delivery         truck   arriving        in New York      on

 November    2,    2017.       Id.       ft    22,    24.       Upon       delivery,    much   of

 Plaintiff's property was wet,                 had visible mold,              and/or a mildew

 odor.      Id.   HI    26-29,     35.        Plaintiff's           complaint      acknowledges

 Plaintiff's inability to pinpoint how or when such damage occurred

 without the benefit of discovery, id. ff 77-78, and she therefore

 advances     multiple        alternative             factual        theories,       including:
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 (1) damage occurred during the multi-year storage in Virginia;

 (2) damage occurred in the days immediately prior to shipment to

 New York when the large wooden box/vault containing Plaintiff's

 belongings       was   left   outside   in    the     rain;        and/or         (3)     damage

 occurred,    and/or was exacerbated,          while Plaintiff's wet property

 was being transported to New York.

      After       inventorying and photographing her property in New

 York, and documenting the damage on various claim forms. Plaintiff

 calculated her damages at over $56,000.                    Id. KK 38-41.                After a

 claims    process      that   spanned   several      months.        Defendant           offered

 Plaintiff approximately $4,250.              Id.          42-50,    61-64.          Plaintiff

 alleges that Defendant acted in bad faith throughout the claims

 process,    to    include     intentionally providing               misinformation            to

 Defendant's       insurance      adjuster     in     an      effort     to         bias     such

 individual's review of Plaintiff's claim.^                    Id. H 69.

       Plaintiff initially filed suit in the York-Poquoson Circuit

 Court, alleging claims under Virginia statutory and common law, as

 well as a     claim under the       federal        statute governing interstate

 carrier     liability     {the    ''Carmack    Amendment").                 ECF     No.    1-1.

 Defendant properly removed the action to this Court and filed the

 motion to dismiss now pending before the Court.                       ECF Nos. 1, 7.




 ^ Plaintiff further alleges that Defendant improperly denied broader
 mold/mildew coverage based on the terms of Defendant's own insurance policy,
 a policy that Plaintiff asserts has no bearing on whether she is entitled
 to compensation for her damaged property.           Compl.         66-67,    69.
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                                 II.     standard of Review


        Rule 8(a) (2) of the Federal Rules of Civil Procedure requires

 "a short and plain statement of the claim showing that the pleader

 is entitled to relief," Fed. R. Civ. P. 8(a)(2),                                 so as to "'give

 the    defendant      fair    notice      of    what    the    .    .     .    claim       is   and       the

 grounds upon which it rests,'" Bell Atlantic Corp. v. Twombly, 550

 U.S.   544,    555     (2007)    (omission in original)                       (quoting Conley v.

 Gibson, 355 U.S. 41, 47 (1957)) .                The Supreme Court has interpreted

 the pleading standard set forth in Rule 8(a) as requiring that a

 complaint include enough facts to render a claim "plausible on its

 face" and thereby "raise a right to relief above the speculative

 level on the assumption that all the allegations in the complaint

 are true      (even if doubtful in fact)."                 Id.      at 555,          570    (citations

 omitted).        This     plausibility           requirement             "is     not       akin      to    a

 'probability         requirement, '       but    it     asks       for        more   than       a    sheer

 possibility" that a defendant is liable.                           Ashcroft v.              Iqbal,     556

 U.S.   662,   678    (2009)     (cfuotinq Twombly,        550 U.S. at 556).

        The    well-established            Rule     12(b)(6)              standard          of       review

 authorizes dismissal of a                claim when the complaint                      "fail[s]           to

 state a claim upon which relief can be granted."                                 Fed. R. Civ. P.

 12(b) (6) .     A    Rule     12(b) (6)    motion       tests       the        sufficiency           of    a

 complaint without resolving factual disputes, and a district court

 must   therefore       "accept     as     true    all    of    the       factual           allegations

 contained in the complaint and draw all reasonable inferences in
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 favor    of    the plaintiff."                Kensington Volunteer Fire                  Dep't v.

 Montgomery Cty. , 684 F.3d 462, 467 (4th Cir. 2012)                         (quotation marks

 and citation omitted).              Although the truth of the alleged facts is

 presumed, district courts are not bound by "legal conclusions" and

 "need    not    accept       as    true    unwarranted         inferences,         unreasonable

 conclusions, or arguments."                   E. Shore Mkts.,         Inc. v. J.D. Assocs.

 Ltd. P^ship, 213 F.3d 175, 180 (4th Cir. 2000) .                           Moreover, a court

 does not resolve the applicability of defenses at the 12(b)(6)

 stage except          in    "the relatively rare              circumstances where            facts

 sufficient to rule" on such defenses "clearly appear on the face

 of the complaint."                Goodman v.      Praxair,      Inc.,     494 F.3d 458,          464

 (4th Cir. 2007)            (en banc)      (quotation marks and citation omitted).

                                        III.    Discussion


         It is well-established that the Carmack Amendment completely

 preempts       state       law    claims    for    damages      to    goods       caused    by    an

 interstate carrier.               5K Logistics,        Inc.    v.    Daily Exp.,      Inc.,      659

 F.3d 331,      335     (4th Cir.     2011).        "Initially enacted in 1906 as an

 amendment      to     the    Interstate       Commerce        Act    of   1887,    the     Carmack

 Amendment creates ^a national scheme of carrier liability for goods

 damaged or lost during interstate shipment under a valid bill of

 lading.'"       Id.    (quoting Shao v. Link Cargo (Taiwan) Ltd., 986 F.2d

 700,    704    (4th     Cir.      1993)).         As   a   "comprehensive          exercise      of

 Congress's power to regulate interstate commerce,"                                such federal

 remedy "has long been interpreted to preempt state liability rules
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 pertaining to cargo carriage, either under statute or common law."

 Id.      "In creating this uniform nationwide scheme of                                 [federal]

 statutory        remedies,         Congress        legislated     with    remarkable         care,

 striking a precise balance between the rights of shippers and

 carriers."           Id.      As   explained in greater detail by the Fourth

 Circuit in 5K Logistics, the Carmack Amendment benefits interstate

 carriers by relieving them of the burden of complying with varying

 regulations across different states, and benefits shippers both by

 providing favorable burden-shifting rules and by authorizing a

 lawsuit against either the original carrier or the delivering

 carrier.         Id.       Pursuant    to    the    Carmack Amendment,           a    carrier is

 "liable       'for     the    actual       loss     or   injury    to    the     property'      it

 transports."           Ward v. Allied Van Lines,                Inc.,    231 F.3d 135,         138

 (4th Cir. 2000)            (emphasis added)          (quoting 49 U.S.C. § 14706(a)(1)

 (1997) ) .2

       Defendant's            motion    to     dismiss     pending       before       this    Court

 relies     entirely          on    Carmack     preemption,        seeking      dismissal       of:

 (1)   Count One-Breach of the Storage Contract to the extent such

 count alleges rain damage;                   (2)   Count Two—Breach of Duty of Good

 Faith;     (3)    Count       Three—Common         Law Negligence;         (4)       Count   Four-

 Common Law        Fraud;      and    (5)    Count    Six—Consumer        Fraud.        Defendant



 2 As the parties' briefing illustrates, another benefit for interstate
 carriers is that the Carmack Amendment is generally interpreted as limiting
 a shipper's remedy, in most circumstances, to the actual damage to the
 shipped goods.  In contrast, state tort law and/or state statutory consumer
 protection laws often allow for the recovery of punitive damages or similar
 forms of relief designed to deter misconduct.
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 does not assert that the Cairmack Amendment otherwise preempts the

 breach of the Storage Contract claim advanced in Count One,                                           nor

 does it challenge the Carmack Amendment claim advanced in Count

 Five.     Plaintiff largely agrees with Defendant's legal contention

 that     the    Carmack          Amendment        pre-empts           any     state       law    claims

 predicated on damage occurring after her property was loaded on

 the    truck    for    interstate            shipment,       but      argues       that      unresolved

 questions      of     fact       exist    as    to       both   when        the    relevant      damage

 occurred as well as when Defendant's activities shifted from those


 of a long-term "warehouseman" to those of an interstate carrier.

                                                     A.


         Count One of             the complaint           includes a         paragraph asserting

 that "one possibility" as to how Plaintiff's property was damaged

 is that Defendant "moved the container vault housing [Plaintiff's]

 goods out of the warehouse in advance of" the anticipated move to

 New    York    and    that       such    wooden      vault      was    left       in   the    rain    and


 leaked.        Compl.        f    89.        Such    paragraph         further         alleges       that

 Defendant engages in the practice of storing some customers' items

 outside i t s warehouse for a                reduced fee.             Id.


         First, as argued by Plaintiff in opposition to dismissal,                                      it

 cannot be known at this early stage in the proceedings if,                                       when,

 or for what purpose. Plaintiff's vault may have been stored outside

 in the rain rather than inside Defendant's temperature-controlled

 facility.        Interpreted            in    Plaintiff's          favor.         Plaintiff's        pre-
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 discovery allegations are sufficient to include scenarios where

 her vault was stored outside far "in advance" of the shipment of

 her items to New York for reasons driven solely by Defendant's

 activities as a warehouseman, rather than as an interstate carrier.

        Second, even assuming that Plaintiff's vault was left outside

 "over the weekend"      immediately prior to Plaintiff's move to New

 York, it appears just as plausible that it was moved outside for

 Defendant's     benefit   as   a   long-term   storage   facility    (i.e..

 Defendant had a      new customer waiting to      lease the    temperature-

 controlled space occupied by Plaintiff's vault), as it is that it

 was moved outside by Defendant to facilitate interstate shipment,

 because when inferences are made in Plaintiff's favor,            letting a

 vault sit in the rain for several days until employees and/or a

 moving truck become available appears          to achieve     little toward

 "facilitating" shipment.^       While Defendant is clearly correct, as

 a matter of law,     that Count One is pre-empted to the extent that

 i t seeks to recover for damages occurring while Defendant acted as




 2   Additional plausible explanations likewise exist that cannot be known by
 a plaintiff without access to Defendant's internal policies and procedures.
 For example, consistent with Defendant collecting over $1,000 in fees for
 unpacking,  labeling,  repacking,   and inventorying each of Plaintiff's
 belongings as a warehouseman when i t received Plaintiff's items for long-
 term storage, i t is surely plausible that, to avoid fraudulent customer
 claims under the enhanced property damage provision of the Storage Contract,
 Defendant had a policy to open and inspect all vaults and inventory each
 item before "releasing" them to the owner, regardless of whether they were
 personally collected by the owner or shipped directly by Defendant.    It is
 therefore inappropriate at this early stage to assume, in Defendant's favor,
 that it was necessarily acting as an interstate carrier when it first moved,
 and/or first inspected the contents of Plaintiff's vault.
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 a     carrier    ''arranging      for"     the     interstate      transportation        of

 Plaintiff's belongings, 49 U.S.C. § 13102(23), such determination

 of fact is a matter for another day.                    See Bowman v. Paul Arpin Van

 Lines,    Inc. , No.       3:05cv62,    2005 WL 3590948,        at *2   (W.D. Va. Dec.

 30, 2005)       (explaining that the meaning of ''transportation" under

 the    Carmack Amendment         "includes       the     arrangements    made    for    the

 movement of goods, as well as the movement itself")."*                        Defendant's

 motion to dismiss H 89 of the complaint is therefore denied at

 this   time.


                                             B.


        Count Two of the complaint alleges a                    breach of the duty of

 good faith in evaluating Plaintiff's damages claim.                       As suggested

 above, it remains unclear at this time whether Plaintiff's property

 was damaged partially, or wholly, during long-term storage rather

 than when Defendant was handling such property as an interstate

 carrier.       As argued by Plaintiff, to the extent Defendant appears

 to    acknowledge      that    the     breach    of     the   Storage   Contract      claim

 alleged in Count One is not pre-empted by the Carmack Amendment,

 it appears to logically follow that an associated claim alleging

 the    breach    of    a    discretionary        duty    established     by    that    same

 contract is likewise not pre-empted.                     Although Defendant appears




 ^ Defendant accurately asserts that transportation under the Carmack
 Amendment is a broad concept, and includes acts taken by a carrier in
 preparation for transit and following transit, including, at a minimum,
 negotiations for carriage, loading activities, shipment activities, unloading
 activities, and temporary storage.
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  correct that the broad sweep of Carmack preemption extends to the

 subsequent processing of claims for damages occurring during any

 part of the interstate transportation process, Rehm v. Baltimore

 Storage Co., 300 F. Supp. 2d 408, 413 (W.D. Va. 2004)                         (citing Rini

 V. United Van Lines,           Inc.,   104 F.3d 502,         505-06    (1st Cir.           1997);

 Gordon v.      United Van Lines,        Inc.,   130 F.3d 282,          289-90        (7th Cir.

 1997)),    Plaintiff plausibly alleges a                claim for a          breach of the

 duty of good faith in the manner in which Defendant handled her

 damages claim under the discrete Storage Contract executed more

 than two years prior to any negotiations associated with hiring

 Defendant as an interstate carrier.^               Defendant's motion to dismiss


 Count Two i s     therefore denied a t this         time.




 5 Accepting Plaintiff's well-pled facts as true, Defendant clearly wore two
 discrete "hats" over the course of the several years relevant to Plaintiff's
 claims, first acting as "warehouseman" under the Storage Contract executed
 in 2015 and later acting as an interstate carrier under a separate agreement
 negotiated in 2017.   The existence of a separate long-term Storage Contract
 plainly distinguishes this case from the wealth of case law holding that
 short-term storage prior to, during, or after, an interstate trip is part
 of the transportation process, rendering state law claims for damages
 incurred during storage preempted by Carmack.     See e.g., Bowman, 2005 WL
 3590948, at *3; Schultz v. Auld, 848 F. Supp. 1497, 1503-04 (D. Idaho 1993);
 Tayloe v. Kachina Moving & Storage, Inc., 16 P. Supp. 2d 1123, 1128 (D.
 Ariz. 1998) ; see also Kalman v. Morris-North American, Inc., 531 So. 2d 394,
 3 96 (Fla. Dist. Ct. App. 3d Dist. 1988) (finding that the "claims against
 the warehousemen are not preempted" by the Carmack Amendment because i t was
 "clear that the parties entered into a new contract for storage" six months
 after the interstate move and that such contract was "separate and distinct
 from the terms of the bill of lading") ; Stabler v. Fla. Van Lines, Inc.,
 No.   CIV.A.   11-0103-WS-N,    2012   WL 32660,   at   *9    (S.D.   Ala.    Jan.    6,    2012)
 (discussing the distinction between: (1) Carmack preemption applicable to
 household goods packed and shipped to another state; and (2) the absence of
 Carmack preemption applicable to separate goods packed from the same house
 on the same day but shipped to an in-state storage facility as there was no
 evidence suggesting that the stored goods were ever intended to be
 transported out of state).    Furthermore, Defendant fails to cite any case
 law suggesting that a later-in-time contract to act as an interstate carrier


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                                                    c.


          The thrust of Count Three of the complaint,                            even when such

 count is construed in Plaintiff's favor,                            alleges that Defendant

 was negligent in "[1]oading wet goods for shipment" knowing that

 they would "sit in an enclosed and unventilated area for many-

 hours."       Compl. H 114 (emphasis added).                      Such loading activities,

 as a matter of fact and law, were unquestionably taken by Defendant

 as   a    carrier        in    preparation          for    the     interstate     shipment    of

 Plaintiff's property, and Plaintiff's state law negligence claim

 must be dismissed as preempted to the extent it relies on such

 factual       assertions.        See PNH          Corp.   v.    Hullquist Corp.,      843   F.2d

 586, 590 (1st Cir. 1988)                (indicating that the "broad definition of

 transportation"           applicable         to    the    Carmack Amendment        extends    to

  "all    of    a   motor       carrier's      services          incident   to    carriage    and

 delivery").          That      said,    for       the    same    reasons   discussed in the

 preceding sections,             Count Three is not dismissed in its entirety

 as Plaintiff alleges sufficient facts to plausibly state a claim

 asserting that Defendant acted negligently as a                             warehouseman in

 handling Plaintiff's effects during the years,                             months,   weeks or

 days leading up to the acts taken as a carrier in preparation for

 shipment.          Cf.   id.    at     591    (noting,      in a    factual     scenario    that

 differs from the instant case,                    that if the defendant "acted in the



 eviscerates a long-term warehouseman's common law and state statutory
 duties, thus operating to give a warehouseman-turned-carrier free reign to
 act in bad faith and/or commit fraud with respect to the processing of
 claims under the independent storage contract.

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 capacity of a warehouseman,              rather than a carrier .              .   .     [t]he

 Carmack Amendment,      and       the   Interstate       Commerce Act         generally,

 would be inapplicable"        to such entity).              Defendant's motion to

 dismiss Count Three is therefore granted in part to the extent it

 relies on activities taken in preparation for interstate shipment,

 and denied in part as to activities taken as a warehouseman.

                                            D.


       Count Four of Plaintiff's complaint suffers from an infirmity

 similar   to   Count   Three,      as    the    thrust    of   Count    Four      is    that

 Defendant   committed     fraud        through knowingly       concealing         the    wet

 condition of Plaintiff's property and then loading such goods "onto

 the moving truck while wet and then transporting them."                               Compl.

 H 122.    Count Four is therefore dismissed to the extent it relies

 on loading activities because a claim for damages resulting from

 such activities is preempted as a                matter of law.          In contrast,

 when facts and reasonable          inferences are construed in P l a i n t i f f ' s


 favor, as they must be at the 12(b)(6) stage. Plaintiff plausibly

 alleges that Defendant obtained knowledge of the wet condition of

 Plaintiff's    property    as      a    warehouseman-bailee,           and     not      only

 intentionally concealed such fact from Plaintiff,                      but thereafter

 intentionally     biased      a     third-party          adjuster      who     evaluated

 Plaintiff's damages claim under the Storage Contract.                        Such latter

 allegations survive dismissal, and Defendant's motion is therefore

 granted in part, and denied in part.



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                                           E.


        Count Six of Plaintiff's complaint seeks relief pursuant to

 the Virginia Consumer Protection Act                ("VCPA")     with such claim

 predicated on multiple theories,               to include false processing of

 claims under the Storage Contract and the inclusion of improper

 burden-shifting language in the Storage Contract.                     Defendant's

 motion   to   dismiss   asserts    that    such claim       is   preempted by the

 Carmack Amendment, and to the extent i t is not pre-empted, argues

 that Count Six improperly seeks "treble damages" under the VCPA

 when the proper remedy is,            at most,     disregarding the disputed

 burden-shifting     provision      contained        in     the   written   Storage

 Contract.     ECF No. 7, at 6-7.       For the reasons discussed in detail

 above, the Court finds that i t would be premature to conclude that

 Carmack preemption applies         in light of           Plaintiff's allegations

 that   Defendant    engaged   in      intentional        deception,   fraud,   and

 misrepresentations in processing Plaintiff's damages claims under

 the independent Storage Contract.®              Because such claim survives at

 this early stage,       so must Plaintiff's assertion to the right to

 treble damages under the VCPA.




 ® As noted in the preceding footnote, while the Carmack Amendment may not
 have a mechanism to dissuade interstate shippers from committing fraud while
 processing damages claims, Defendant fails at this time to demonstrate that
 Carmack's reach i s so broad that a   warehouseman can use Carmack to insulate
 itself from an otherwise valid state law claim arising out of a long-term
 storage contract based solely on the fact that the same business entity that
 acted as warehouseman acted as an interstate carrier several years later
 through a separate and independent carriage contract.


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         The Court separately finds that Plaintiff has sufficiently

 alleged that there is an improper burden shifting provision in the

 long-term Storage Contract that, at a minimum, provides additional

 context      for     Plaintiff's       VCPA   claim.^        Stated differently,                even

 assuming that the improper burden shifting language cannot,                                       in

 isolation,         support   recovery of            treble    damages,        because       treble

 damages        may     be       recoverable          in      conjunction        with        other

 facts/theories alleged in Count Six, the Court denies the motion

 to dismiss any portion of Count Six associated with such language

 at this early stage in the proceedings.

         The Court does,          however,     grant the motion to dismiss Count

 Six     to   the    extent   that      such   count       relies   on   Va.    Code     §    59.1-


 200(37),       as     Plaintiff        improperly         interprets      such         statutory

 provision as incorporating by reference a broad range of Virginia

 Code sections rather than a single code section that has no facial

 relevance to the facts of this case.^                      Although Defendant's attack

 on this subsection,          and several other subsections,                    of § 59.1-200

 was not fully articulated until Defendant filed its reply brief.


   Defendant's       assertion   that    Plaintiff    cannot    demonstrate      that    Defendant
 applied the improper burden shifting language during the claims process
 relies on facts outside the complaint, to include Defendant's contention
 that its insurer did not require Plaintiff to prove that Defendant caused
 any of the damage to her property. The fact that Defendant's arguments rely
 on facts not presently before the Court further supports denial of the
 motion to dismiss Count Six.            See Leichling v.       Honeywell Int'l,         Inc.,    842
 F.3d 848, 850-51 (4th Cir. 2016) ("An affirmative defense permits 12(b)(6)
 dismissal if the face of the complaint includes all necessary facts for the
 defense to prevail" (citing Goodman, 494 F.3d at 464)) .

 ® Va.    Code § 59.1-200(37)        incorporates violations of           § 8.01-40.2,        which
 covers "Unsolicited transmission of advertising materials by facsimile."

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 Defendant's argument in its reply brief as to subsection (37)                             is

 a direct response to Plaintiff's improper interpretation of § 59.1-

  200(37) in its brief in opposition.             Because Plaintiff will not be

 prejudiced in any way by the lack of a                     further opportunity to

 respond to Defendant's           argument      on subsection       (37),     the    Court

 exercises      its   discretion    to    grant    the     motion   to   dismiss         such

 portion of Count Six.        Zinner v. Olenych, 108 F. Supp. 3d 369, 398

  (E.D. Va. 2015).      On this undeveloped record, the Court finds that

 it is inappropriate to exercise its discretion to reach the dispute

 as to any other subsections of § 59.1-200 set forth in Count Six

 of the complaint.          The motion to dismiss Count Six is therefore

 granted as to Defendant's challenge to Count Six's reliance on Va.

 Code § 59.1-200(37), and is denied in all other respects.

                                   IV.   Conclusion


        For the reasons stated above.             Defendant's partial motion to

 dismiss is GRANTED in part,             and DENIED in part.         ECF No.        7.     In

 sum,   while   none   of   the   individual      counts    are   dismissed at           this

 time. Defendant's motion is granted to the extent that Plaintiff's

 state law claims are predicated on damage caused by Defendant's

 activities      as    an    interstate         carrier,     to     include     loading

 Plaintiff's property onto a             truck in preparation for interstate

 shipment.      All claims against Defendant as a "warehouseman," with

 the exception of the claim predicated on a                   misinterpretation of

 Va. Code § 59.1-200(37), survive at this time, with discovery being



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  the appropriate mechanism for investigating:                        (1) when and how the

  relevant     damages       were       caused;    and/or     (2)    which of      Defendant's

  activities       occurred        as   warehouseman         (and    were    governed       by   the

  Storage Contract),              and which activities occurred as                   interstate

  carrier      (and       were     governed       by   the    rules/procedures/remedies

  provided in the Carmack Amendment).

         In light of the amount of damages at issue vis-i-vis the scope

  of discovery and other litigation procedures that will likely be

  necessary in this case, the Court RECOMMENDS that counsel for both

 parties confer in advance of the Rule 16(b) scheduling conference

  to determine an agreeable date for a settlement conference with a

 Magistrate        Judge     of     this    Court      as    early    as     possible       in   the

  litigation process.

         The Clerk is REQUESTED to send a                     copy of        this Opinion and

 Order    to a l l      counsel   of    record.


         IT   IS   SO   ORDERED.




                                                                             /s/
                                                             Mark S. Davis
                                                             United States District Judge
                                                        UNITED      STATES    DISTRICT      JUDGE
 Norfolk, Virginia
 August 31 , 2018




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